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                        COL (Ret) Arnaldo Claudio Curriculum Vitae


Summary Qualifications

      Proven record of superb performance in Government
      Senior management and leadership professional with vast experience in strategic
       planning, international negotiations and Police development and improvement programs
      A visionary experienced in advising senior management through planning and situation
       analysis in decisive and immediate action relating to multiple large physical security,
       community policing, antiterrorism, counterterrorism, counterdrug, force protection, rule
       of law, police resiliency, proper use of force and Federal, State and local Interagency
       coordination.
      Impressive interpersonal skills. Energetic worker and team player who excels in
       dynamic, multifaceted and sensitive international and domestics environments.
      Published Writer.
      Cleared for Top Secret and granted access to sensitive compartmented information.
       Bilingual (Spanish—written and oral).

Civilian Education

BS, Secondary Education, University of Puerto Rico
MS, Administration Education, Jacksonville State University
DM Homeland Security (ongoing Doctoral Program with Colorado Technical University)

Career Highlights

During 30 years of military service held numerous highly sensitive positions culminating as
Chief of Staff, Joint Force Headquarters - National Capital Region (JFHQ-NCR) and U.S. Army
Military District of Washington (MDW). Some of my most prominent assignments included
many high level Law Enforcement and Security Operations and the training of Police
organizations both domestic and internationally with primary focus on the rule of law and the
preservation of human rights. Examples of some of these operations include: Senior Advisor to
the Colombian, Salvadoran, Panamanian and Iraqi Police Forces, Chief Security Operations for
Pope John Paul II; Advisor for Presidential Hostage Rescue Forces, Colombian Armed Forces;
Military Group Advisor for Counternarcotic and Counterterrorism, Peru and Bolivia; Assistant to
the Special Advisor for Central and Eastern European Affairs of the Office of the Secretary
General, NATO; White House Senior Drug Control Analyst, Office of the National Drug Control
Policy; Police Advisor, Cuban and Haitian Refugees Operations, Guantanamo Bay, Cuba; Joint
Staff Interagency representative in the development of the Government of Panama National
Security Strategy; Department of Defense Security Coordinator for President Ronald Reagan and
President Gerald R. Ford State Funerals; President George W. Bush Presidential Inauguration;
Brigade Commander, Military Police Brigade, 25th Infantry Division; and Provost Marshal
Multinational Coalition Forces and XVIII Airborne Corps, Iraq, Peace Corps Chief of
Operations.



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I presently serve as the JFHQ-NCR Interagency Program Director/Advisor to the Commanding
General

Career Focus

A dynamic managerial position in areas associated with security, community policing,
appropriate use of force, citizen protection, rule of law and constitutional preservation, special
operations (counterdrug-counterterrorism-antiterrorism) safety, physical security, risk
management, police administration and communication, police curriculum development and
interagency coordination.

Experience

Joint Force Headquarters National Capital Region Inter Agency Program Director-
February 2010-Present

Direct representative for the Commanding General in matters related to the integration and
synchronization of Homeland Defense and Defense Support to Civilian Authorities within the
JFHQ-NCR. Coordinates directly with local, state and federal partners concerning National
Security Special Events and Community Police Operations within the NCR Interagency (FBI,
Secret Service, US Capitol Police, FEMA, HLS, Metro Police Department, Fire and Rescue,
others). Establishes the Coordination that occurs between police agencies of the US Government,
including the Department of Defense, for the purpose of accomplishing an objective.
Coordination refers to a wide range of formal and informal contact with interagency partners, to
include collaboration, engagement, synchronization, information sharing and relationship
building. Establishes, develops, and maintains effective working relationships with
USNORTHCOM and other Joint Interagency organizations. Meets with key customers and
coordinating officials to assess customer satisfaction, explain policies and procedures, and
resolve significant problems that arise. Participates in special projects and initiatives and
performs special assignments. Identifies the need for special projects and initiates milestones
and goals. Provides interagency expertise to support and facilitate the Command’s missions of
Homeland Defense and Defense Support of Civil Authorities (DSCA) in the NCR Joint
Operations Area (JOA). Establishes and sustains interagency contacts to strengthen operational
relationships and procedures, improve police information-sharing, and to increase situational
awareness. Integrates and synchronizes the efforts of multiple agencies and departments to
ensure mutual understanding and unity of effort during Homeland Defense and Civil Support
Operations. JFHQ-NCR builds and sustains essential active relationships to best support
Federal, Regional, State and Local agencies. JFHQ-NCR exercises regularly with interagency
partners in support of various Federal, State, Regional, and Local governmental agencies’ efforts
and the incumbent facilitates these efforts. Leads the critical relationships that JFHQ-NCR
sustains with governmental and non-governmental agencies on a daily basis, which play a critical
role in the ability to execute operational plans.




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Peace Corps Chief of Operations, Washington, D.C.            3/2009 - 2/2010

Responsible for ensuring consistent, efficient and effective management of programmatic and
budgetary operations for the office of Volunteer Recruitment and Selection, United States Peace
Corps. Provide supervision and oversight for the Director of Recruitment (includes 9 Regional
Office Managers (ROMs), the Recruitment Support Unit, the Masters International Program
(MI), and Diversity and National Outreach; and the Placement Manager—a total of 180
personnel. Advices the Peace Corps staff Director concerning the training of volunteers’ security
and safety and the preservation of human dignity and respect. In conjunction with the AD/VRS I
am responsible for planning all major agency programs of national scope and impact,
specifically, as it relates to Peace Corps Volunteer Recruitment, Selection and Placement of over
70 Post overseas around the world. I set policy, goals, and management objectives for
Headquarters Placement and Recruitment staff to ensure alignment with Peace Corps overall
mission ofproviding technical assistance, helping people outside the United States to understand
American culture, and helping Americans to understand the cultures of other countries. I manage
the business processes between the Offices of Recruitment and Placement to ensure consistent,
efficient, timely operations and communications – streamlining, standardizing, and improving
work flow as necessary to ensure exemplary customer service both internally and externally. I
work closely with the Chief Administrative Officer to ensure implementation of budgetary
operating goals and objectives are met within the Integrated Planning and Budget System
(IPBS). I undertake and manage all special projects involving VRS Headquarters and regional
offices, inter-agency staff and consultants to ensure the success of the initiative. I serve as the
Acting Director, VRS with full responsibility and authority necessary to ensure on-going
administration and operations in the AD/VRS absence.

Executive Director Office IT Oversight and Compliance Department of Veterans Affairs,
D.C.2/2007 - 12/2008

Responsible for the conduct of a comprehensive program of assessments designed to measure
VA’s nationwide facilities’ compliance with legislative, federal government oversight and VA
policies, procedures, and practices. The key elements of the assessment program are: Audit
Planning, Audit Schedules, Auditor Selection and Training, Audit Preparation, Regulatory
Requirements and Agency Requirements; Audit Checklist Development; Conduct of Audit; and
Reporting of Results. Because of the large volume of sensitive information received, processed,
and disseminated throughout the VA, these assessments are critical to ensure that VA has an
effective information management policies and that these policies are strictly adhered to. The
assessments completed by this office facilitate VA’s reporting response to requirements by
legislation: Other major objectives of these assessments are: Determine the adequacy of internal
controls, Investigate compliance with laws, policies, and directions from external organizations,
Ensure proper safeguards are maintained, Report findings to management and recommend
corrective action where necessary. In coordination with other OI&T divisions initiates
collaboration across the Department to guarantee IT processes and technologies proactively
address compliance in the IT network by incorporating controls into systems process and
performing regulated self-assessments. Responsible for VA wide compliance with IT standards
and regulations; guidance and education to project management regarding IT-related inspections
conducted by internal and external auditors, including coordination of inspection plans and



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support of audits with staff and auditors; facilitation of remediation efforts and the establishment
and management of the quality assurance efforts focused on evaluating compliance to established
standards and facilitates process improvements. In addition, The Office provides technical
direction and guidance to ensure that information technology (IT) is acquired and IT resources
are managed for the Department in a manner that implements the policies and procedures related,
and the strategic guidance as defined by the Secretary of The Department of Veterans Affairs.
This office supports the management of VA's enterprise IT architecture; cyber security program;
IT capital investment planning, execution and financial management programs; the Department’s
data processing centers; wide area data and local area network management and
telecommunications program; records management and e-government; and office automation
support services to the VA Central Office campus.

Chief of Staff/Provost Marshal, Joint Force Headquarters-National Capital Region (JFHQ-
NCR) and US Army Military District of Washington (MDW). A subordinate JTF for
USNORTHCOM in the NCR Joint Operations Area and ARMY MACOM.

Responsible for integration and synchronization of Defense Support to Civil Authorities under
conditions of increased threat, attack, crisis or disaster in the NCR; providing military airlift for
our most senior leaders under routine and contingency response conditions; rendering military
honors, funerals and ceremonial support in our nation's capital and for our most senior military
and civilian leaders; and providing C2 for seven installations and five major subordinate units
dispersed over three States and the District of Columbia. Oversees $248M Army/Joint budget.
Represents the CG at Joint/Interagency forums and acts as his Deputy for daily operations.

January 2005 to January 2006 – Multinational Coalition Corps-Iraq Provost Marshal
Baghdad, Iraq

Senior Police Advisor to the Multinational Coalition Corps-Iraq Commanding General in the
areas of Rule of Law, Citizen Protection, Community Policing, Physical Security, Police
Working Dogs, Force Protection, and Detention Operations

Supervised current MP planning and operations that included all five MP battlefield functions
encompassing operations of two MP BDEs and over 8,000 MP in the joint theater of operations.
Served as the staff proponent for detention operations at Corps (division and echelons below)
level. Coordinated MP policies and guidance with the Corps staff and MSCs. Ensured proper MP
assets were utilized and resourced within the MNC-I theater of operations. Advised the Corps
staff on MP organizations and capabilities. Monitored subordinate MP forces to ensure that
operations were being conducted were consistent with the COs directives and priorities and the
preservation of human rights. Identified and articulated future MP operational requirements and
direct all Iraqi Police Forces training and education with emphasis on community policing.
Coordinated with allied forces and host nation military and civilian police. Managed the Military
Working Dog Program.




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July 2003 to January 2005 – Major Army Command, Military Police Provost Marshal (Chief),
Military District of Washington, Washington, DC

Senior Director of Police operations for an Army Major Major Army Command Provost
Marshal (PM) for the US Army Military District of Washington (MDW) consisting of seven
installations located in four States and the District of Columbia. Provided employment oversight
of over 1, 200 military police and security force soldiers executing the MDW force protection
mission. Responsible for the Force Protection pillars of law enforcement, physical security and
access control. Responsible for security and law enforcement support to the White House, DoD,
DA and ceremonies and special events. Provided law enforcement support to the Secret Service
in local Presidential security operations occurring on MDW installations and in Arlington
National Cemetery. Advised the CG on law enforcement, physical security and other military
police operations. Maintained liaison with over 45 federal, state, and local civilian. Managed the
Military Working Dog Program.

May 2001 to July 2003 – Senior Executive (Brigade Commander), US Army Military Police
Brigade - Hawaii, Ft Shafter, Hawaii

Directed and supervised the security, force protection and law enforcement of an organization
with an operating strength of over 75,000 personnel and a $7.2 million dollar budget
incorporating 29 military installations.

Commanded the Military Police Brigade-Hawaii with an operating strength of over 600
personnel, $35 million of assigned equipment and installation property, and a command
operating budget of $7.2 million. Provided combat ready military police support to 25th ID (L)
and USARPAC. Concurrently served as MACOM Provost Marshal, USARPAC, responsible for
law enforcement command plans and policies, force protection, physical security, correction,
military police combat support in the AOR. As Provost Marshal, USARHAW, provided the
security, force protection and law enforcement to the largest garrison complex in the Army.
Executive Agent for the command anti-terrorism and counter-drug programs. Managed the
Military Working Dog Program.

June 1999 to May 2001 – Chief, North Branch/Military Secretary, Inter-American Defense
Board, Washington, DC

Formulated Joint Staff and United States Government positions on international hemisphere
collective defensive planning for presentation before the Inter-American Defense Board (IADB).

Responsible for formulating Joint Staff and US Government positions on international
hemisphere collective defense planning for presentation before the Inter-American Defense
Board (IADB). Provided strategy and engagement opportunities for promotion of the Joint
Mexican-US Defense Commission (JMUSDC). Represented the Chief, US Delegation, during
formal Assemblies and in bilateral activities with foreign senior officers. Provided advice to the
Chairman of the Joint Chiefs of Staff and senior DOD officials on US foreign policy, security
policy, and international relations. Coordinated politico-military issues with appropriate unified
commands, the Services, Department of State, National Security Council, Organization of



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American States, and foreign embassies. Managed Branch responsible for US military relations
with Mexico and Canada.

August 1998 to June 1999 – Student Inter-American Defense College, Washington, DC

Prepared selected military and civilian officials of the member governments of the Organization
of American states to conduct planning for the security and defense of the continent through an
in-depth study of the Inter-American system with its political, psychosocial, economic, and
military aspects.

      Authored a monograph, “The United States National Drug Control Strategy and its
       impact on Latin America Drug Control Programs.” The paper was selected for
       publication in the Inter-American Defense College Magazine.


October 1997 to August 1998 – White House Senior Drug Policy Analyst Central America
and the Caribbean, Washington, DC , Executive Office of the President, Office of the
National Drug Control Policy, Senior Police Analyst for Central America and the
Caribbean

Assisted in the development and implementation of U.S. Government counter-drug policies,
strategies, and programs governing counter-narcotics activities of all defense and federal
agencies. Assessed the effectiveness of counter-drug programs in Central America and the
Caribbean and makes recommendations to the Director ONDCP, a cabinet official. Coordinated
extensively with Embassy country teams, Unified Commands, and the Washington interagency.
Lead action officer for reviewing, updating, and promulgating the President’s Classified Annex
to the National Drug Control Strategy, the framework classified national strategy for
international drug control. Performed other duties as assigned by the Chief for International
Strategy and Plans

Publications:

Operational Plan NARCO (Military Review)
Peru, Sendero Luminoso and the Narco Trafficking Alliance (Military Review)
Bolivian Armed Forces and the War on Drugs (Military Review)
Training Foreign Military Forces: Assisting El Salvador in its Transitions to Peace (Military
Police Journal)
United States and Colombia: Failure of a Security Strategy (Military Review)
Colombia: A Search for an Integrated U.S. Policy for Counternarcotics and Counterinsurgency
(USMC CSC)
The United Sates National Drug Control Strategy and its Impact on Latin America (Inter-
American Defense College)




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AWARDS AND DECORATIONS:

Military and civilian awards and decorations include the Defense Superior Service Medal,
Legion of Merit (2 OLC), Bronze Start Medal, Meritorious Service Medal (7 OLC), Joint
Service Commendation Medal, Army Commendation Medal (3 OLC), Joint Service
Achievement Medal (1 OCL), Army Achievement Medal (4 OLC), National Defense Service
Medal (with Star), Armed Forces Expeditionary Medal (1 OLC), Iraq Campaign Medal, Global
War on Terrorism Medal, Humanitarian Service Medal (1 OLC), Armed Forces Reserve Medal,
Army Service Ribbon, Overseas Service Ribbon (6th), Inter-American Defense Board Ribbon,
U.S. Army Combat Action Badge, U.S. Army Airborne Badge, U.S. Army Air Assault Badge,
United States Air Force Senior Security Police Badge, Republic of Colombia - Military Order of
Merit Award (Jose Maria de Cordova), Colombian Airborne Badge, Colombian Urban
Counterterrorist Badge, German Spotabzeichen, German Airborne Badge, Joint Chiefs of Staff
Identification Badge, Inter-American Defense Board Identification Badge, Order of the
Marchaussee (Military Police in Bronze), Order of Saint Barbara (Field Artillery), Order of
Saint Maurice (Legionnaire) (Infantry), United States Capitol Police Distinguished Service
Medal.




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